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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF KENTUCKY
                                          AT LONDON
                                    CASE NO. 6:24-mj-6038-HAI
                                       “Electronically Filed”

UNITED STATES OF AMERICA                                                                  PLAINTIFF

v.

SCOTT BLAIR                                                                               DEFENDANT


                                    MOTION TO TRANSFER TO PIKE
                                    COUNTY DETENTION CENTER


         Comes the Defendant, Scott Blair, by counsel, and moves that an order issue transferring him to the Pike

County Detention Center. In support of this motion, the undersigned counsel states that when he initially visited

with the Defendant, he was in the Laurel County Jail. The undersigned counsel was advised that the reason he was

transferred from the Laurel County Jail to the Grayson County Detention Center was that because there may be

individuals incarcerated in the Laurel County Jail who are somehow connected to the Defendant, who was

previously the Commonwealth’s Attorney of Perry County.

         The undersigned counsel states that he lives in the Van Lear area of Kentucky and that for him to travel to

visit the Defendant in the Grayson County Detention Center is approximately a four hour drive. The undersigned

counsel states that he understands that federal prisoners are also housed in the Pike County Detention Center.

         The Defendant asks that he be transferred to the Pike County Detention Center so he can have easier access

to his counsel.

         WHEREFORE, an appropriate order is sought.

                                                               RESPECTFULLY SUBMITTED,



                                                               S:/NED PILLERSDORF
                                                               NED PILLERSDORF
                                                               PILLERSDORF LAW OFFICES
                                                               124 WEST COURT STREET
                                                               PRESTONSBURG, KENTUCKY 41653
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                                 CERTIFICATE OF SERVICE

        This is to certify that the foregoing was electronically filed on the CM/ECF server, on
this 23rd day of April 2024.



                                                     S:/NED PILLERSDORF
                                                     NED PILLERSDORF
